
In re: Michael T. Brown, applying for writs of certiorari, prohibition and mandamus. Parish of Acadia.
Writ granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Hugh E. Brunson, Judge of the 15th Judicial District, Court for the Parish of Acadia, to transmit the Supreme Court of Louisiana, on or before the 15th day of December, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be appointed by this Court, why the relief prayed for in the petition of the relator should not be granted.
